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   NORREASHA GILL                                                               PLAINTIFF

   V.                       AGREED ORDER OF DISMISSAL

   CUMULUS MEDIA, INC.                                                        DEFENDANT
                                     ************
          The parties being in agreement; and the Court being otherwise sufficiently

   advised;

          IT IS HEREBY ORDERED AND ADJUDGED that the above-referenced matter

   be, and the same hereby is, dismissed, with prejudice, as settled; each party to bear their

   own costs and fees.



                                                            STRICT COURT
                                                EASTERN DISTRICT OF KENTUCKY
   HAVE SEEN; AGREED:

   Hon. David T. Schur
   DICKSTEIN, SHAPIRO, MORLN
      & OSHINSKY, LLP
   2101 L Street, NW
   Washington, D.C. 20037
   (202) 775-4721

          and

   McBRAYER, McGINNIS, LESLIE
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   Lexington, Kentucky 40507


                     -.
       STEPHEN G. AMATO
   ATTORNEYS FOR DEFENDANT
Case: 5:05-cv-00288-JMH-JBT Doc #: 11 Filed: 09/20/05 Page: 2 of 2 - Page ID#: 42




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  COPIES TO:

  Hon. Stephen G. Amato
  Hon. David T. Schur
  Hon. Lee Van Horn
